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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                             )
 NANCY GIMENA HUISHA-HUISHA, et al.,         )
                                             )
 Plaintiffs,                                 )
                                             )
 v.                                          )                   No. 1:21-cv-00100-EGS
                                             )
 ALEJANDRO MAYORKAS, Secretary of Homeland )
 Security, in his official capacity, et al., )
                                             )
 Defendants.                                 )
                                             )


    PLAINTIFFS’ SUPPLEMENTAL RESPONSE CONCERNING INTERVENTION

       Pursuant to the Court’s minute order issued December 8, 2022, Plaintiffs respectfully

submit this response to the States’ supplemental brief concerning intervention.

       Plaintiffs agree with Defendants that regardless of whether Defendants’ notice of appeal

would otherwise deprive this Court of jurisdiction to decide the States’ motion, the Court can and

should deny the motion on the merits under Federal Rule of Civil Procedure 62.1(a)(2). Defs.

Suppl. Mem., Dkt. 185, at 3; see also Campaign Legal Ctr. v. Fed. Election Comm’n, No. CV

21-406 (TJK), 2022 WL 1978727, at *1 n.1 (D.D.C. June 6, 2022); Voyageur Outward Bound

Sch. v. United States, No. 1:18-CV-01463 (TNM), 2021 WL 1929123, at *2 (D.D.C. May 13,

2021). Plaintiffs likewise agree with the federal government that a decision from this Court by

December 15 addressing the States’ motion may facilitate appellate review of the issue, given

that the States have asked the Circuit to rule on their intervention motion by December 16, once

the appellate briefing concludes at 11:59 p.m. on December 15.


Dated: December 14, 2022                         Respectfully submitted,

                                                    /s/ Lee Gelernt_____________________
 Stephen B. Kang (Bar ID. CA00090)                  Lee Gelernt (Bar ID. NY0408)
 Cody Wofsy (Bar ID. CA00103)                       Daniel A. Galindo

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